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                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF TEXAS
                                 MIDLAND DIVISION
CARDWARE INC.

vs.                                                 Case No.: 7:24-CV-00279-ADA
APPLE INC.


                        MOTION FOR ADMISSION PRO HAC VICE

TO THE HONORABLE JUDGE OF SAID COURT:

       Comes now Caroline M. Walters                                      , applicant herein, and

moves this Court to grant admission to the United States District Court for the Western District of

Texas pro hac vice to represent CardWare Inc.                                     in this case, and

would respectfully show the Court as follows:


       1.      Applicant is an attorney and a member of the law firm (or practices under the name of)
               Reichman Jorgensen Lehman & Feldberg LLP                 with offices at:

               Mailing address: 400 Madison Avenue, Suite 14D

               City, State, Zip Code: New York, NY 10017

               Telephone: (212) 381-1965                    Facsimile: (650) 560-3501


       2.      Since    April 27, 2020                        , Applicant has been and presently is a

               member of and in good standing with the Bar of the State of New York                     .

               Applicant's bar license number is 5780739                                                .


       3.      Applicant has been admitted to practice before the following courts:

               Court:                                       Admission date:
               See Attachment A
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4.      Applicant is presently a member in good standing of the bars of the courts listed above,

        except as provided below (list any court named in the preceding paragraph before which

        Applicant is no longer admitted to practice):

        N/A




5.      I      have         have not previously applied to Appear Pro Hac Vice in this district

        court in Case[s]:

        Number:                              on the        day of                        ,         .

        Number:                              on the        day of                        ,         .

        Number:                              on the        day of                        ,         .

6.      Applicant has never been subject to grievance proceedings or involuntary removal

        proceedings while a member of the bar of any state or federal court, except as

        provided:
        N/A




7.      Applicant has not been charged, arrested, or convicted of a criminal offense or offenses,

        except as provided below (omit minor traffic offenses):

        N/A




8.      Applicant has read and is familiar with the Local Rules of the Western District of Texas

        and will comply with the standards of practice set out therein.
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          9.      Applicant will file an Application for Admission to Practice before the United States

                  District Court for the Western District of Texas, if so requested; or Applicant has

                  co-counsel in this case who is admitted to practice before the United States District

                  Court for the Western District of Texas.

                  Co-counsel: Eric H. Findlay; Findlay Craft, P.C.

                  Mailing address: 7270 Crosswater Avenue, Suite B

                  City, State, Zip Code: Tyler, Texas 75703

                  Telephone: 903-534-1100


          Should the Court grant applicant's motion, Applicant shall tender the amount of $100.00 pro hac

vice fee in compliance with Local Court Rule AT-l(f)(2) [checks made payable to: Clerk, U.S. District

Court].

          Wherefore, Applicant prays that this Court enter an order permitting the admission of
Caroline M. Walters                       to the Western District of Texas pro hac vice for this case only.


                                                        Respectfully submitted,

                                                        Caroline M. Walters
                                                        [printed name of Applicant]
                                                                         Applicant


                                                        [signature of Applicant]


                                      CERTIFICATE OF SERVICE

          I hereby certify that I have served a true and correct copy of this motion upon each attorney of

record and the original upon the Clerk of Court on this the 14th day of November                  , 2024     .

                                                         Caroline M. Walters
                                                        [printed
                                                         printed name of Applicant]


                                                        [signature
                                                          ignature of Applicant]
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                                         UNITED STATES DISTRICT COURT
                                             WESTERN DISTRICT OF TEXAS
                                                MIDLAND DIVISION

CARDWARE INC.

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APPLE INC.



                                                                   ORDER

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 Caroline M. Walters                                                                     CardWare Inc.
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                                                                            UNITED STATES MAGISTRATE JUDGE
